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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                    )
 TRUSTEES OF THE NATIONAL                           )
 ELECTRICAL BENEFIT FUND,                           )
 2400 Research Boulevard, Suite 500,                ) Civil Action No. 8:21-cv-1805
 Rockville, MD 20850,                               )
                                                    )
        Plaintiffs,                                 )
                                                    )
        v.                                          )
                                                    )
 SOLAR ELECTRIC TURBINE COMPANY,                    )
 LLC,                                               )
 an Indiana limited liability company,              )
 530 Apollo Parkway                                 )
 Westfield, IN 46074,                               )
                                                    )
        Defendant.                                  )
                                                    )


                                         COMPLAINT

       1.      This is an action brought by the Trustees of a multiemployer pension plan, the

National Electrical Benefit Fund (“NEBF”), to collect delinquent contributions owed to the NEBF

by Defendant Solar Electric Turbine Company, LLC, an employer that is obligated to contribute

to the NEBF pursuant to the provisions of its collective bargaining agreements and the NEBF plan

documents.



                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction of this matter pursuant to Section 502(e) of the

Employee Retirement Income Security Act of 1974, as amended (hereinafter “ERISA”), 29 U.S.C.

§ 1132(e). Plaintiffs are fiduciaries to the NEBF, and this action arises under Sections 502(a)(3)



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and 515 of ERISA, 29 U.S.C. §§ 1132(a)(3), and 1145. Venue is proper because the NEBF is

administered within this district. ERISA Section 502(e)(2), 29 U.S.C. § 1132(e)(2).

       3.     This Court also has jurisdiction of this matter pursuant to Section 301 of the Taft

Hartley Act, 29 U.S.C. § 185, as this is an action for a violation of a collective bargaining

agreement between an employer and a labor organization.



                                           PARTIES

       4.     The NEBF is a multiemployer employee pension benefit plan within the meaning

of Section 3(2) of ERISA, 29 U.S.C. § 1002(2), that has been established pursuant to an agreement

entered into between the International Brotherhood of Electrical Workers (“IBEW”) and the

National Electrical Contractors Association (“NECA”). Employers agree to participate in the

NEBF pursuant to collective bargaining agreements with the IBEW or one of its affiliated local

unions. The address of the NEBF is 2400 Research Boulevard, Suite 500, Rockville, Maryland,

20850-3238.

       5.     Defendant is an employer engaged in an industry affecting commerce, is

contractually and legally obligated to submit contributions to the NEBF and is an employer within

the meaning of Section 3(5) of ERISA, 29 U.S.C. § 1002(5). Upon information and belief,

Defendant is an Indiana limited liability company whose business address and main place of

business is 530 Apollo Parkway, Westfield, IN 46074.



                                  STATEMENT OF CLAIM

       6.     Defendant is a signatory and has been a signatory continuously during all relevant

periods to collective bargaining agreements (“Collective Bargaining Agreements”) with the IBEW



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Local Union 481 as the collective bargaining representatives of Defendant’s employees. Pursuant

to the Collective Bargaining Agreement, Defendant has been and is currently obligated to submit

contributions to the NEBF on behalf of the employees covered by the Collective Bargaining

Agreement during all relevant times.

       7.      Defendant, pursuant to the Collective Bargaining Agreements, has been and is also

bound to all terms and conditions of the Restated Employees Benefit Agreement and Trust for the

National Electrical Benefit Fund (“NEBF Trust Agreement”), which has governed the

administration of the NEBF at all times relevant to this action.

       8.      Notwithstanding its obligations pursuant to the Collective Bargaining Agreement

and the NEBF Trust Agreement, Defendant has been delinquent in making contributions to the

NEBF on behalf of its employees covered by the Collective Bargaining Agreement.

       9.      According to an audit of Defendant’s books and records conducted in October

2020, Defendant owes to NEBF $5,092.18 in unpaid delinquent contributions for work performed

during the period April 4, 2018, through December 31, 2019.

       10.     According to reports prepared by Defendant and submitted to NEBF’s local

collection agent, Defendant failed to pay the NEBF at least $165.90 in contributions for work

performed during the period December 2018.

       11.     NEBF and its counsel made several demands for payment of the aforementioned

amounts, but Defendant failed to satisfy its contractual obligations.

       12.     Interest on the aforementioned delinquent contributions is $1,174.05.

       13.     Liquidated damages on the aforementioned delinquent contributions are equal to

$1,051.62.

       14.     The cost of the audit, which is to be borne by Defendant, is $750.00.



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       15.     Despite Defendant’s breaches of its obligations, the Trustees to the NEBF will be

required to provide benefits to NEBF participants employed by Defendant upon their retirement,

based on their years of credited service, which would include that period during which Defendant

failed to contribute. This could result in a reduction of the corpus of the trust, thereby endangering

the rights and benefits of other participants and beneficiaries on whose behalf contributions have

been properly made.

       16.     Section 515 of ERISA requires an employer to make contributions to a

multiemployer pension plan in accordance with its obligations under a collectively bargained

agreement and the plan documents. 29 U.S.C. § 1145.

       17.     Section 502(g)(3) of ERISA provides that a fiduciary may enforce the provisions

of ERISA and the terms of the plan through a civil action. 29 U.S.C. § 1132(a)(3).

       18.     Section 502(g)(2) of ERISA provides that a fiduciary of a multiemployer plan,

bringing suit to recover delinquencies under Section 515, shall recover in addition to unpaid

contributions, interest thereupon, liquidated damages, attorneys’ fees and costs, and other

appropriate legal and equitable relief. 29 U.S.C. § 1132(g)(2).

       19.     The NEBF Trust Agreement authorizes the Trustees to take all necessary actions to

recover delinquent contributions. In addition, it authorizes the Trustees to recover interest on the

delinquent contributions at a rate of ten percent (10%) per annum, liquidated damages in an amount

equal to twenty percent (20%) of the delinquency, and all costs, including attorneys’ fees and audit

expenses, incurred in collecting the delinquency.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment in their favor, and that the Court’s judgment

includes:

              (a)     $5,258.08, representing unpaid delinquent contributions due and owing the
                      NEBF for the work performed between April 4, 2018, through December
                      31, 2019;

              (b)     $1,174.05, representing interest on the aforementioned delinquent
                      contributions calculated at a rate of 10% per annum through the date hereof,
                      plus any and all interest accruing from now until paid in full;

              (c)     $1,051.62, representing liquidated damages in the amount of 20% of the
                      contributions due and owing the NEBF;

              (d)     $750.00, representing the cost to the NEBF of the audit of Defendant’s
                      payroll records;

              (e)     an award of all reasonable attorneys’ fees and the costs of this action.


       Plaintiffs further pray that the Court grant such other legal and equitable relief as the Court

deems appropriate.



                                                  Respectfully submitted,


 Dated: July 21, 2021                             /s/ Jennifer Bush Hawkins
                                                  Jennifer Bush Hawkins (13064)
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                                                  Trustees of the National Electrical Benefit Fund




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